
Per Cur.
The evidence is inadmissible; this rule was adopted by the court in the case of Rozell v. Inslee at Middlesex Nisi Prius, and we think it is correct and should be adhered to.
The court was afterwards divided upon the question whether the bond should be suffered to go to the jury. Kinsey C. y. thought it ought to be received because there were other obligees named in the bond, and the evidence was that the paper cut off referred to only one of them, and it was not proved which. Smith y. thought the evidence inadmissible, because there was a mutilation of the instrument after its execution; and the jury would not be warranted in inferring that its contents referred to one, and not to another. The evidence was accordingly rejected, and the plaintiff suffered a
Nonsuit.,
